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                               81,7('67$7(6',675,&7&2857
                                1257+(51',675,&72)2+,2
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DOO RWKHU FRXQVHO DQG SDUWLHV DQG RWKHUV ZKR DUH FRQVXOWHG DERXW WKH VWDWXV RU GHWDLOV RI WKHVH

QHJRWLDWLRQVVKDOOPDLQWDLQVWULFWFRQILGHQWLDOLW\DVWRWKHFRQWHQWVRIWKRVHGLVFXVVLRQV

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